                      UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA



FARHAD AZIMA,

                            Plaintiff,
                                                    No. 1:20-cv-00954-WO-JLW
                      v.

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

                           Defendants.



     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO QUASH
                 PLAINTIFF’S SUBPOENA

          NOW COME non-parties Christopher Swecker and Chris Swecker

Enterprises, LLC, through undersigned counsel, and hereby submit this brief in

support of their Motion to Quash Plaintiff’s Subpoena Duces Tecum pursuant to Rules

26 and 45 of the Federal Rules of Civil Procedure, and Local Rules 7.3 and 26.1.

                           STATEMENT OF THE CASE

          Plaintiff filed this action in the United States District Court for the Middle

  District of North Carolina on October 15, 2020 seeking compensatory and statutory

  damages, as well as injunctive relief from Defendants Del Rosso and Vital

  Management Services. (Compl. p. 32) [Doc. 1]. On October 21, 2020, Plaintiff

  sought leave to serve third-party subpoenas prior to a Rule 26(f) conference. [Doc.

  7]. On December 14, 2020, the Court denied Plaintiff’s motion. [Doc. 30]. On

  December 21, 2020, Defendants filed their Motion to Dismiss per Rule 12(b)(6).

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[Doc. 31]. On December 10, 2021, the Court granted in part and denied in part

Defendants’ Motion, granting dismissal of nine claims as untimely, while allowing

Plaintiff to proceed on Count Eight, a North Carolina misappropriation of trade

secrets allegation occurring in 2018-2019, and Count Ten, a North Carolina civil

conspiracy claim contingent upon survival of the trade secrets claim. [Doc. 65 at

21-24].

                    STATEMENT OF RELEVANT FACTS

          Christopher Swecker is an attorney licensed to practice law in North

Carolina. [Swecker Affidavit, Ex. B]. Chris Swecker Enterprises, LLC is a North

Carolina limited liability corporation (collectively “Swecker”). Id.   On January

24, 2023, Swecker received a single third-party subpoena from Plaintiff’s counsel

dated January 23, 2023 (the “subpoena”). [Ex. A]. The subpoena broadly requests

that Swecker produce “all documents and communications” from August 1, 2014 to

the present     “…relating to work performed by Christopher Swecker and

Christopher Swecker Enterprises, LLC relating to Plaintiff….” The subpoena

further requests “all documents and communications” or “all communications” with

or related to approximately 17 other persons or entities, all non-parties to the

litigation, over the same eight-year period. Id.

          On January 30, 2023, undersigned counsel communicated by telephone

and letter to Plaintiff’s counsel that the subpoena requested an overly broad range

of documents and data covering a lengthy period that would include primarily, if

not entirely, information protected by attorney client and attorney work product
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privileges, as well as other possible issues.      [L.R. 37.1(a) Certification].   The

request also subjected Swecker to undue burden and cost in collecting and

reviewing information possibly responsive to the expansive request. Undersigned

counsel and Plaintiff’s counsel conferred further by telephone on January 31 and

February 7, 2023 in an effort to resolve the issues. Id.        Having diligently but

unsuccessfully attempted to resolve the issues raised by the subpoena, Swecker now

moves to quash the subpoena as overbroad and unduly burdensome, as well as

requesting privileged information.

                            STANDARD OF REVIEW

         Fed. R. Civ. P. 45(d)(1) governs a subpoena issued to non-parties,

requiring that “[a] party or attorney responsible for issuing and serving a subpoena

must take reasonable steps to avoid imposing undue burden or expense on a person

subject to the subpoena.” Rule 45(d)(3)(A) further provides that a court “must

quash or modify a subpoena that . . . subjects a person to undue burden.” Fed. R.

Civ. P. 26(c)(1) allows a court to “issue an order to protect a party or person from . .

. undue burden or expense” by, among other measures, “forbidding the disclosure

or discovery” or “forbidding inquiry into certain matters, or limiting the scope of

disclosure or discovery to certain matters.”

         The undue-burden standard limits discovery to information that is

“relevant to any party’s claim or defense” and “proportional to the needs of the

case.” Virginia Dep’t of Corr. v. Jordan, 921 F.3d 180, 188 (4th Cir. 2019)

(quoting Fed. R. Civ. P. 26(b)(1)). Ultimately, giving the nonparty status "special

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weight," the court must determine "whether the benefits of discovery to the

requesting party outweigh the burdens on the recipient." Id.; Spring v. Bd. of

Trustees of Cape Fear Cmty. Coll., No. 7:15-CV-84-BO, 2016 U.S. Dist. LEXIS

103977, 2016 WL 4204153, at *1 (E.D.N.C. Aug. 8, 2016). The same undue-

burden standard "applies to both document and testimonial subpoenas." Watts v.

SEC, 482 F.3d 501, 508, 375 U.S. App. D.C. 409 (D.C. Cir. 2007); Virginia Dep’t

of Corr. v. Jordan, 921 F.3d 180, 193 (4th Cir. 2019).

                                     ARGUMENT

         The subpoena issued by Plaintiff imposes an undue burden on Swecker that

is disproportionate to the needs Plaintiff in this case.    The Court’s Order of

December 10, 2021 [Doc. 65] on Defendants’ Motion to Dismiss effectively limits

the scope of the case to Count Eight with respect to Defendants’ conduct in 2018

and 2019. The allegation names “Defendants Del Rosso and Vital, along with

CyberRoot, Dechert, LLP, Page, and others” as conspiring to acquire and disclose

Plaintiff’s trade secrets. [Doc. 1, ¶ 109].

         The subpoena ignores the Court’s limitation of the claims and is over

broad and unduly burdensome for several reasons. First, Plaintiff’s request “from

2014 to present” extends well beyond the relevant time frame as outlined in the

Court’s Order.     Second, Plaintiff has not established whether the requested

information can be obtained from another party to the litigation or from an alleged

co-conspirator. “In general, there is a preference for parties to obtain discovery

from one another before burdening non-parties with discovery requests.” Soto v.

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Castlerock Farming & Transp., Inc., 282 F.R.D. 492, 505 (E.D. Cal. 2012). see

also Genus Lifesciences Inc. v. Lannett Co., Inc., 2019 WL 7313047, at *4 (N.D.

Cal. Dec. 30, 2019) (granting motion to quash subpoena that imposed undue burden

because plaintiff did not attempt to obtain the requested documents from defendant

before seeking them from third party); Torre v. Charter Commc’ns, Inc., 2020 WL

7705940, at *1 (S.D.N.Y. Dec. 28, 2020) (quashing third-party subpoena that

sought information “that could and should be obtained from . . . a party to this

action.”

           Third, Plaintiff’s request would require the third-party recipient to review

eight-years of “all documents and communications” to evaluate 1) whether any

item may be responsive to the request with respect to the defendants or to any one

of the additional seventeen persons and entities named; and, if so, 2) whether any

such response is protected by privilege. Fourth, Plaintiff fails to limit the subpoena

to specific information that is relevant or proportional to Count Eight. As the Court

explained in Virginia Dep’t of Corr. v. Jordan, 921 F.3d 180 (4th Cir. 2019):


                     When discovery is sought from nonparties, however, its
           scope must be limited even more. Nonparties are "strangers" to the
           litigation, and since they have "no dog in [the] fight," they have "a
           different     set    of     expectations"    from      the     parties
           themselves. Cusumano v. Microsoft Corp., 162 F.3d 708, 717 (1st
           Cir. 1998). Bystanders should not be drawn into the parties' dispute
           without some good reason, even if they have information that falls
           within the scope of party discovery. For example, a party's email
           provider might well possess emails that would be discoverable from
           the party herself. But unless the email provider can offer important
           information that cannot be obtained from the party directly, there
           would be no cause for a subpoena against the provider. Id. at 189.

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        In this case, Plaintiff’s subpoena contains no subject matter or relevant

time limits and, as such, the burden imposed on Swecker substantially outweighs

the known benefits of the discovery to Plaintiff. "A subpoena imposes an undue

burden on a party when a subpoena is overbroad." Champion Pro Consulting Grp.,

Inc. v. Impact Sports Football, LLC, 2014 WL 6686727, at *4 (M.D.N.C. Nov. 26,

2014) quoting AOL, Inc., 550 F. Supp. 2d at 612. "A subpoena is overbroad if it

does not limit the documents requested to subject matter relevant to the claims or

defenses." Id. at 9-10 (quoting Innovative Therapies, Inc. v. Meents, Civ. A. No.

DKC 12-3309, 302 F.R.D. 364, 2014 U.S. Dist. LEXIS 27119, 2014 WL 858651,

at *17 (D. Md. Mar. 4, 2014) (unpublished) (internal quotation marks omitted).

         Further,   the   subpoena    expansively     seeks   “all   documents     and

communications” from an attorney without regard to the protections afforded by the

attorney client and attorney work product privileges. Mr. Swecker performed legal

work for two clients, Mr. Del Rosso and Vital Management. [Swecker Affidavit, Ex.

B]. Even if some of the underlying documents were not ultimately deemed to be

privileged, the process of reviewing all relevant documents and assessing privilege

claims in response to a request as broad as contained in the subpoena would be

extremely burdensome upon Mr. Swecker and out of proportion with the needs of

this case. See Est. of Ungar v. Palestinian Auth., 332 F. App’x 643, 645 (2d Cir.

2009) (affirming quashing of subpoena to law firm that “asked for essentially every

document [the firm] possessed relating to its representation of [a client]”); cf. In re

Application for an Ord. Pursuant to 28 U.S.C. § 1782 to Conduct Discovery for use

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in a Foreign Proceeding, 286 F. Supp. 3d 1, 7 (D.D.C. 2017)             (“[W]hen a

discovery request demands production of an attorney’s records in connection with

representation of a client, invocation of the protections of the attorney-client

privilege and work-product doctrine may be effective without requiring a detailed

privilege log. Otherwise, any objection to the scope of a discovery demand would

be rendered moot because interposing that objection would trigger the very

burdensome obligation to prepare a privilege log that the objection would be

intended to avoid.”).

                                  CONCLUSION

        For the reasons set forth herein, Swecker respectfully requests that the

Court quash the subpoena as overbroad and unduly burdensome. Alternatively,

Swecker requests that the Court modify and significantly limit the scope of the

request to specific, nonprivileged    information relevant to Count Eight of the

Complaint, that is not otherwise available to Plaintiff, and issue a Protective Order

as necessary to protect confidential information.

        Respectfully submitted this 7th day of February, 2023.

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                          CERTIFICATE OF SERVICE

     I hereby certify that on the 7th day of February, 2023, I caused a copy of the

foregoing document to be served via e-mail through the Court’s ECF notification system

upon the following:

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Jeffrey M. Kelly                            Calvin Lee
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                       LOCAL RULE 37.1(a) CERTIFICATION

       Pursuant to Local Rule 37.1(a), I hereby certify, subject to Fed. R. Civ. P. 11, and as

set out more fully in this Memorandum, On January 30, 2023, undersigned counsel

contacted Plaintiff’s counsel by letter and, thereafter, the parties met and conferred on this

issue via teleconference on January 31, 2023 and February 7, 2023.            After personal

consultation and diligent attempts to resolve differences, the parties are unable to reach an

accord regarding Plaintiff’s subpoena to Swecker.

       Respectfully submitted this 7th day of February, 2023.



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                          WORD COUNT CERTIFICATION

Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ. P. 11 that the

accompanying memorandum does not exceed the 6,250-word limitation according to the

word count feature of the word processing system used to prepare the memorandum.

      Respectfully submitted this the 7th day of February, 2023.



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